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                          UNITED STATES DISTRICT COURT
  9
           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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    YONNEDIL CARROR TORRES,                    CASE NO. 2:20-cv-04450-CBM-PVCx
 12 et al.,
                                               [PROPOSED] ORDER TO
 13              Plaintiff-Petitioners,        CLARIFY PRELIMINARY
                                               INJUNCTION ORDER
 14        vs.
                                               Filed Concurrently with Joint Status
 15 LOUIS MILUSNIC, in his capacity as         Report
    Warden of Lompoc, et al.,
 16                                            Date: November 24, 2020
               Defendant-Respondents.          Time: 9:00 AM
 17
                                               Assigned to Hon. Consuelo B. Marshall
 18                                            Courtroom 8B
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  1        The matter before the Court is Plaintiff-Petitioners Yonnedil Carror Torres,
  2 Vincent Reed, Felix Samuel Garcia, Andre Brown, and Shawn L. Fears’
  3 (“Petitioners’”) dispute with Respondents Louis Milusnic, in his capacity as Warden
  4 of Lompoc, et al. (“Respondents”) regarding the interpretation of this Court’s July
  5 14, 2020 order on Petitioners’ motion for a preliminary injunction. 1 The parties’
  6 positions have been fully set forth, including in the Joint Status Report filed
  7 November 17, 2020.
  8                                 I.    BACKGROUND
  9        This action is brought on behalf of inmates at FCI Lompoc and USP Lompoc
 10 (collectively, “Lompoc”) challenging the Director of the Bureau of Prisons (“BOP”)
 11 and Warden of Lompoc’s response to the COVID-19 pandemic. The Complaint
 12 asserts two causes of action: (1) Unconstitutional Conditions of Confinement in
 13 Violation of the Eighth Amendment to the U.S. Constitution pursuant to 28 U.S.C.
 14 §§ 2241, 2243; (2) and Unconstitutional Conditions of Confinement in Violation of
 15 the Eighth Amendment to the U.S. Constitution pursuant to U.S. Const, Amend.
 16 VIII; 28 U.S.C. § 1331; 5 U.S.C. § 702. On July 14, 2020, the Court granted
 17 Petitioners’ motion for a preliminary injunction to require Respondents to make “full
 18 and speedy use of their authority under the CARES Act and evaluate each class
 19 member’s eligibility for home confinement which gives substantial weight to the
 20 inmate’s risk factors for severe illness and death from COVID-19 based on age
 21 (over 50) or Underlying Health Conditions.” (Dkt. No. 45 (the “Preliminary
 22 Injunction Order”).)
 23        Since the Preliminary Injunction Order, Respondents have evaluated
 24 approximately 1200 class members’ eligibility for home confinement. Home
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       The parties agreed to convert Petitioners’ Ex Parte Application for a Temporary
 27 Restraining Order was converted into an expedited motion for a preliminary
 28 injunction. (Dkt. Nos. 41, 42.)

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  1 confinement has been granted to 127 of those class members, with the remainder
  2 being denied. A further 452 class members currently are being evaluated for home
  3 confinement.
  4                                  II.    DISCUSSION
  5         The parties continue to dispute whether Respondents are complying with this
  6 Court’s Preliminary Injunction Order to make “full and speedy use of their authority
  7 under the CARES Act and evaluate each class member’s eligibility for home
  8 confinement which gives substantial weight to the inmate’s risk factors for severe
  9 illness and death from COVID-19 based on age (over 50) or Underlying Health
 10 Conditions.” Petitioners contend that Respondents have been relying on factors not
 11 set out in the relevant BOP guidance—primarily BOP’s May 8 Memo—and which
 12 run counter to Attorney General’s Barr’s directive to ”maximize appropriate
 13 transfers to home confinement.” In particular, Petitioners contend that Respondents
 14 continue to disqualify inmates from home confinement because they have not yet
 15 served half of their sentence or because they have a prior offense that is a crime of
 16 violence, a sex crime, or was related to terrorism. Neither factor finds support in the
 17 May 8 Memo. Moreover, Petitioners contend that Respondents rely on these and
 18 other factors as categorical bars to home confinement instead of employing the
 19 holistic approach mandated by the directives issued by Attorney General Barr, BOP
 20 officials, and this Court.2 Petitioners have provided numerous examples of home
 21 confinement review worksheets where inmates were denied home confinement on
 22 the basis of factors not contained in any applicable BOP guidance.
 23         In response, Respondents contend they are complying with BOP’s May 8
 24 Memo and that, in any event, this Court is prohibited from reviewing any decision
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      2
 26    The Court notes that BOP issued a memorandum containing updated home
    confinement review criteria on November 16. Respondents have conceded,
 27 however, that this updated memorandum does not apply to class members at FCC
 28 Lompoc.

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  1 regarding where to house an inmate and so cannot grant the relief requested. This
  2 Court is not, however, asked to—nor does it here attempt—to review any decision
  3 of where to house a particular inmate. Rather, this Court is simply asked to order
  4 that Respondents conduct home confinement reviews in a way that faithfully
  5 adheres to all applicable guidance from the Attorney General and BOP, as well as
  6 this Court’s previous order to “make full and speedy use of their authority under the
  7 CARES Act” and “give[] substantial weight to the inmate’s risk factors for severe
  8 illness and death from COVID-19 based on age (over 50) or Underlying Health
  9 Conditions.”
 10        Relatedly, the parties dispute whether Respondents are making “full and
 11 speedy use of their authority under the CARES Act” to transfer class members to
 12 home confinement following a determination that they are eligible for home
 13 confinement. Petitioners contend that the multiple weeks of delay between approval
 14 and transfer caused by administrative processes and Respondents’ practice of
 15 quarantining inmates for up to 28 days before transfer to home confinement—
 16 despite the CDC recommending only 14 days of quarantine—shows that
 17 Respondents are not making “full and speedy use of their authority.” Despite being
 18 granted home confinement months ago, at least 38 inmates still do not have
 19 projected transfer dates. Respondents contend they are moving quickly, but have
 20 yet to provide adequate explanations for these delays.
 21                                 III.   CONCLUSION
 22        Having reviewed the parties’ submissions on these issues, the Court
 23 ORDERS as follows:
 24        1.      Within 28 days, Respondents shall re-evaluate for home confinement
 25                all class members denied home confinement and shall:
 26                a)    assign substantial weight to the inmate’s risk factors for severe
 27                      illness and death from COVID-19 based on age (over 50) or
 28                      Underlying Health Conditions;

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  1             b)     eliminate all requirements that the class member have served
  2                    some portion of his or her sentence in order to be eligible for
  3                    home confinement;
  4             c)     eliminate as a categorical exclusion to eligibility for home
  5                    confinement any requirement that a class member:
  6                    i)     not have a primary or prior offense that is violent, sexual,
  7                           or terrorism-related in nature;
  8                    ii)    be without incident reports in the past 12 months,
  9                           regardless of the severity level;
 10                    iii)   have a PATTERN score of LOW or lower.
 11             d)     Within 28 days, Respondents shall submit a declaration
 12                    identifying the additional class members approved for transfer to
 13                    home confinement and specifying for each approved class
 14                    member whether he has already been transferred and, if not, the
 15                    anticipated date of transfer.
 16        2.   Respondents shall complete all steps necessary to finalize the transfer
 17             of class members granted home confinement within two weeks of each
 18             grant. If Respondents are unable to meet this deadline for any
 19             particular class member, they shall show good cause to this Court as to
 20             why they are unable to do so;
 21        3.   As recommended by the CDC, Respondents cannot quarantine class
 22             members granted home confinement for a period longer than 14 days
 23             before completing their transfer to home confinement. If Respondents
 24             are unable to meet this deadline for any particular class member, they
 25             shall show good cause to this Court as to why they are unable to do so.
 26        4.   Respondents shall abide by this order for all future home confinement
 27             reviews of new class members.
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  1 IT IS SO ORDERED.
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  3 DATED:
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                                         Hon. Consuelo B. Marshall
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                                         United States District Judge
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